        Case 4:18-cr-00014-BMM Document 30 Filed 04/13/18 Page 1 of 3



             IN THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION


UNITED STATES OF AMERICA,                   )
                                            )
             Plaintiff,                     )
                                            )
      v.                                    ) Case No. CR 18-14-GF-BMM
                                            )
STANLEY PATRICK WEBER,                      )
                                            )
             Defendant.                     )


                    MOTION TO CONTINUE TRIAL DATE

      COMES NOW the Defendant, Stanley Patrick Weber, by and through his
undersigned counsel, and moves this court for an order continuing the trial currently
scheduled to begin May 14, 2018:
AS GROUNDS THEREFOR, the Defendant states as follows:
1.    This is an action wherein Defendant Stanley Patrick Weber (“Weber”) is
charged with violations of §18 USC et al concerning the alleged sexual abuse of
minors. Weber has pleaded not guilty, and the court has scheduled trial to begin
May 14, 2018.
2.    Contemporaneous with the filing of this motion, Weber has also filed several
motions directed to the disclosure and admissibility of evidence at trial. Included
among these are testimonial motions concerning the propriety of law enforcement
interactions with Weber, such as an interview and a search of his home.
3.    Weber requests pretrial resolution of these filings, and the relief requested
therein, prior to trial. Additionally, Weber intends to obtain transcripts of any
resultant court hearings for use in preparation for trial.
        Case 4:18-cr-00014-BMM Document 30 Filed 04/13/18 Page 2 of 3



4.    Accordingly, Weber requests this court delay the currently scheduled trial
until after the court has concluded any requisite motions hearings and Weber has had
a chance to review the transcripts emanating from such hearings.
5.    Undersigned counsel has conferred with Assistant United States Attorney
Jeffrey K. Starnes, Esq., representing the United States of America in this case. Mr.
Starnes has indicated that he does not object to the relief requested.


WHEREFORE, the Defendant prays for the relief requested, and for such other
and further relief as to the Court sees just and proper in the premises.
Dated this 13th day of April, 2018.

                          Respectfully submitted,

                          /s/ Ryan T. Cox
                          Ryan T. Cox,
                          Admitted Pro Hac Vice
                          Colorado Bar Number 49882;
                          Florida Bar Number 0032686
                          Springer & Steinberg, P.C.
                          1600 Broadway
                          Denver, CO 80202
                          Tel: 303-861-2800
                          Fax: 303-832-7116
                          rcox@springersteinberg.com
        Case 4:18-cr-00014-BMM Document 30 Filed 04/13/18 Page 3 of 3



                         CERTIFICATE OF SERVICE

      I hereby certify that on the 13th day of April, 2018, I electronically filed the
foregoing motion with the Clerk of the Court using the CM/ECF system which will
send notification of such filing to all parties entered in the case.

                          /s/ Ryan T. Cox
                          Ryan T. Cox,
                          Admitted Pro Hac Vice
                          Colorado Bar Number 49882;
                          Florida Bar Number 0032686
                          Springer & Steinberg, P.C.
                          1600 Broadway
                          Denver, CO 80202
                          Tel: 303-861-2800
                          Fax: 303-832-7116
                          rcox@springersteinberg.com
